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STATE Olv MAINE SUPERIGR COURT
CUi\/IBERLAND, SS - CIV]:L ACTION
DOCKB'l` NO.
RONALD THIB ODEAU, )
l
Plaintiff )
l
v. ) COMPLAINT y
) JURY TRIAL REQUESTED
MILLARD MALL SERVICES, INC. )
AKA THE MILLARD GROUP, )
‘ l
Defendant )

Plaintiff Ronald Tliibodeau, by and through the undersigned counsel, complains of

De'fendant, Millard l\/lall Sei'vices, lnc., as follows:
i. d lN'i‘Roi)UCTIoN

l. This is an action for employment discrimination under the Maine Human Rights
Act, 5 M.R.S.A. §§ 4551 at seq. t“the Maine Act”) and the Ainericans with Disabilities Act
(“ADA”), 42 U.S.C. §§ lZlOl etseq. Defendant Millai'd Mall 'Services, lnc. (“Millard”) is a
corporation that offers commercial facility cleaning Services, including janitorial services, in
states across the continental United States, including l\/laine. Plaintiff Ronald Thibodeau
(“Thibodeau”) was at all relevantl times an employee of Millard who worked as a janitor at the
Maine Mall in South Portland, Maine. Tliibodeau was subjected to unlawful employment
discrimination by l\/lillard, including discrimination, harassment, hostile work envii‘onment,'
retaliation and termination because of his disability

l ii. JURISDICT!QN ANI) vENUE

2. Jurisdiction pi'operly lies in this Court' pursuant to 5 M.R.S.A. §§ 4613(]), 26]2.

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.). \/enue properly lies in this Court pursuant to 15 M.R.S.A. § 5()l based on Ronald

Thibodeau`s residence in the County of Cumberland, State ot`Maine.

4. All preconditions to jurisdiction of the ADA and the l\/laine Act have been
satisfied
5. Prior to filing this civil action, Thibodcau filed a timely charge of discrimination

on the basis of disability with the I\/laine Hurnan Rights Coniniission (“MHRC”) and the Equal
Einployment Oppoitunity Co_)_ninission (“EEOC”).

6. The MHRC found reasonable grounds to believe discrimination occurred by
Millard Mall Ser.vices, lnc. and the Commission failcd_, within 90 days after that finding to enter
a conciliation agreement to which the individual plaintiff was la paity.

7. On i\/lay 4, ZOl 6, the EEOC issued a letter to Thibodeau authorizing him to bring
suit'against Millard Mall Services, lnc.

III. PAR'I`IES
Plaintifi'Ronald 'l`hibndcau

8. 'l`hibodeau is a citizen of the United States and a resident of the Cit.y of South
Portland, County of Cumberland and S~tate of Maine. l

9. Thibodeau is an individual with a disability within the meaning of the i\/laine
Huinan Rights Act and the Americans with Disabilities Act.

lO. Thibodeau has a mental impainnent, post~traumatic stress disorder. Due to his
post-traumatic stress disorder, Thibodeau is substantially limited in major life activities including
thinking concentrating and interacting with others and is substantially limited in brain functions

Thibodeau’s post-traumatic stress disorder constitutes an actual disability; Millard Mall Services

 

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regarded Thibodeau as disabled and Thibodeau has a record ot`disability: all pursuant to the
Americans with Disabilities Act and the l\/Iaine Human Rights Act.

l l Thibodcau has a physical impairment encephalitis/severe allergy to bactrini. Due
to his encephalitis/severe allergy to bactrim, Thibodeau is substantially limited in major life
activities including thinking interacting with others, standing and balancing and is substantially
limited in major bodily functions including brain functions, functions of the immune system, and
neurological functions Thibodeau’s encephalitis/se'\/ere allergy to bactrim constitutes an actual
disability as defined by the Americans with Dis_abilities Act and the Maine I~luman Rights Act;
Millar.d Mall Services regarded Thibodeau as disabled, and Thibodeau has a record ot` disability,
all pursuant to the Americans with Disabilities Act and the Maine Hurnan Right's Act..

12. Thibodeau has a physical impairment, pulmonary enibclism. Due to his
pulmonary einbolism, Thibodeau is substantially limited in major life activities including
breathing, standing and balancing and is substantially limited in major bodily functions including
circulatory and respiratory functions Thibodeau’s pulmonary embolism constitutes an actual
disability; Millard Mall Services regarded Thibodeau as disabled and Thibodeau has a record of
disability, all pursuant to the Americans with Disabilities Act and the l\/iaine Human Rights Act.

l3. l Thibodeau has a physical impairment3 coronary pulmonary disorder (COPD). Due
to his COPD, Thibodeau is substantially limited in major life activities including breathing and is
substantially limited in major bodily functions including pulmonary and respiratory functions
Thibodeau’s COPD constitutes an actual disability; Millard Mall Scivices regarded Thibodeau as
disabled, and Thibodeau has a record of disability, all pursuant to the Americans with

Disabilities Act and the Mainc Human Rights Act.

 

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14. 'l`hibodcau has worked all of his life and has a strong work ethic. Prior ton his
employment with l\/lillard, Thibodeau served for twenty years in the Un‘ited States Air Force,
which he joined immediately following his graduation from high school. Fo.llowing his
honorable discharge from the Air Force, he worked in aviation, utilities and customer service l~le
came to l\/lillard with prior experience working with cleaning agents and chemicals and
supervising other workers v

15. "l'hibodeau successfully completed training with l\/lillard as a ilanitor at the l\/laine
l\/lall, including all required duties,-papeiwork> and proper handling of cleaning supplies and
chemicals lie also passed a physical exam

16. At all relevant times, Thibodeau had the requisite skill, experience education and
otherjob related requirements and was able to and satisfactorily performed the essential job
functions of lanith with or without reasonable accommodationl

l7. P rom the time of his hire, l\/lillard scheduled rl`hibodenu to work full time as a
ilanitor and gave him supervisory duties As an employee of l\/lillard, ’l`hibodeau provided quality
cleaning services, worked effectively as a supervisor and worked effectively independently and
as part of a team.

lS. Thibodcau was a "qualilied individual with a disability” within the meaning of the
ADA and the Maine Human Rights Act.

Defcndant Millard Mall Services, Inc.

l 9. l\/lillard l\/lall Services, lnc. is a corporation with its principle place of business in
Lincolnwood, lllinois.

20. l\/lillard offers commercial facility cleaning seivices, including janitorial services,

in states across the continental United States, including l\/laine.

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21. l\/lillard at all material times, owned and operated janitorial cleaning services
provided at the Maine Mall, South Portland, Maine.

22. l\/liilard is a “person"` within the meaning of the ADA 42 U.S.C.§ lZl l 1(7).

23. Millard is engaged in an “industry affecting corninerce” within the meaning of the
ADA. 42 U.S.C.§ l21l 1(7).

24. Millard employed more than 15 employees for each working day in more than 20-
weeks, during the preceding year.

25. At all relevant times, Millard employed more than 3,500 employeesl

26. At all relevant times, Defendant Arnold Garza was employed as a manager by
l\/lillard l\/lall Seivices, lnc, n

27. l\/lillard was an “employer” within the meaning of the ADA 42 U.S.C. §
121 11(5)(A).

28. l\/Iillard is a “covered entity” within the meaning of the ADA 42 U.S_.C. §
lZl 11(2). y

29. Millard is an “employer” within the meaning of the l\/laine Act. 5 MRSA §
4553(4).

30. Millard is "person" within the meaning of the l\/laine'Act. 5 MRSA § 4553(4).

3 l, At all relevant times, Millard has employed employees whose usual place of
employment is in the State ofl\/laine, 5 MRSA § 4553(4),

IV. FAC'I`S
32, l\/lillard hired Thibodeau around 2010 as a .lanitor and Custodial Supervisor in the

Food Court at the l\/laine lvlall in South Portland, Maine.

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33. Soon after he was hired, Thibodeau informed his then-supervisor that he has post~
traumatic stress disorder. I-Ie explained that he may need reasonable accommodation to take short
breaks when his symptoms are exacerbated At that time, Millard permitted 'l`hibodeau to go to a
quiet space for typically a period of 5~6 minutes as a reasonable accommodation for his PTSD.
This was an effective accommodation

34, ln the summer of2013, l\/lillard hired Arnold Garza as supervisor and manager at
the Maine l\/lall.`

35. F rom the stait, Garza made it known to Tliibodean that he was negative about
'l`hibodeau’s need for reasonable accommodation Pcr example, Garza repeatedly mumbled
negative comments to Thibodeau regarding his reasonable accommodation for his PTSD.

36. ` On or about September 20, 20l3, l\/lr. Thibodeau was admitted to the hospital and
diagnosed with encephalitis, pulmonary embolisrn; respiratory failure, and rasli. As a result oi"
the encephalitis, ’l`hibodeau went into a coma. On or about September 27, 2013, 'I`hibodean was
discharged to a rehabilitation facility.

37. While at the rehabilitation facility, Thibodean called Garza to keep him apprised
of his health status Garza told Thibod'eau that he needed to know the exact date and time when
he would be back at work and that Thibodeau’s job depended on the information

38, A staff member at the rehabilitation facility overheard this conversation She
called Respondent’s Human Resonrces Department and explained Thibodeau’s condition She
helped Thibodeau request Faniily l\/ledical Leave, which Millard approved

39. On or about October 7, 2013, the rehabilitation facility discharged Thibodean to
continue recovering at hoine. Garza then begancalling Thibodeau at horne to demand when he

would be back at worl<. Garza’s tone was hostile and angry When l\/h's. Thibodean answered the

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phone, Garza demanded to speak with Thibodeau and told her to “get him up." Garza was so
hostile that he made Mrs. Thibodeau cry. l

40. On or around October 27, 2013, 'l`hibodeau’s doctor advised that he could begin a
gradual return to work, including starting back on a pait~time basis (no more than 20 hours per
week) during weekend shifts Thibodeau needed weekend shifts to accommodate his medical
appointments and treatments during this time.

4]. Garza told Thibodeau that his medical restrictions did not work for Garza. When
Thibodeau tried to again explain that he needed this accommodation for medical reasons, Garza
said “Why should l leave you as a supervisor, then, if you can‘t do thejob?” Garza scheduled
Thibodeau to work 35 hours on weekdays even though Tliibodeau;s doctor had only cleared him
to work 20 hours per Week.

42. A few days later, Thibodeau tried again to obtain a part-time schedule from
Garza. Thibodeau again explained that he still was recovering and that his doctor had only
approved him to work no more than 20 hours-a week during weekend shifts When Thibodeau
told Garza that he had brought a note from his doctor, Garza groaned and made a face Garza
took the note and said “Well, what use are you anyniore‘?” When the new schedule came out,
Thibodeau saw that Garza again had denied his request and had scheduled Plaintii°f for 25-30
hours on days including Monday, Tuesday and Friday.

43. Garza began to criticize Thibodeau frequently, even though Thibod.eau worked
hard and performed his job satisfactorily Garza was aware that Thibodeau had PTSD and
occasionally needed to have short breaks when he had panic attacks related to his PT~SD. Garza
made offensive statements to Thibodeau about his disabilities For example, Garza told

Thibodeau that his panic attacks from PTSD were “not real medical probleins.” Garza also began

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to threaten Thibodeau regularly with demotions and pay reductions On one occasion, Garza told
Thibodeau that he was planning on getting rid of all the employees with disabilities once
Christmas was over because he wanted to hire people who didn’t have so many problems

44. On or about Noveniber 20, 2013, Thibodeau’s doctor advised that he could go
back to work ful.l~time with reasonable accommodations of a slower work pace as he first
returned to full~time hours and use of a Cane if needed When Thibocleau asked for these
accommodations and gave the note to Garza, Garza became upset and told Thibodeau that he
was not allowed to use a cane at work. Garza told Thihodeau to use his cart for balance
Thibodeau called Millard’s Huinan Resources department to ask i`or reconsideration of the denial
of reasonable accommodation and to complain about the way Garza was treating hirn.

45\ Garza’s negative attitude toward Thibodeau, including his repeated threats of
adverse action and negative and angry affect toward him due to his disability_, created a hostile
and abusive work environment Garza yelled at Thibodeau and said derogatory things to him on
a daily basis Thibodeau’s PTSD was exacerbated and he began experiencing increasing panic
attacks and extreme anxiety due to Garza"s actions

46. On or about l\lovernber 29, 2013, "l`hibodeau went in to work at midnight for
Black Friday. He began to have a panic attack and was unable to recover as he usually did.
Thihodeau called Garza and told him he was having a panic attack and his medication was not
working He explained that he needed to go horne Garza ordered him to stay at the mall until
someone from second shift showed up.

47` Thibodeau called another einployee'who agreed to replace him. ln the meantime,
he tried to recover in the break roorn.' While he was in the break rootn, Garza came in and began

slamming around and yelling and screaming at Thibodeau about his panic attack, calling him

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“ignorant,” “stupid,” “tctally goddarnn wortliless,” Tliibodeau told Garza that he was none of
those things In response, Garza stated, “Punch out and go home, because you are iired,”

48. Soon after his termination, Thibodeau informed l\/lillard’s Hurnan Resources
Office about the harassment and that he was terminated Millard did nothing to rectify the way
Thibodeau Was treated and his termination

COUNT I - THE l\'l`AINE ACT
FAJLURE' TO ACCOIVIMODATE

49. Plaintiff Ronald Thibodeau realleges and hereby incorporates by reference all _of
the foregoing paragraphs as if set forth in their entirety herein

50. lt is unlawful discrimination under the Maine Human Rights Act for an employer
to fail to make reasonable accommodation to the known mental and physical limitations of an
otherwise qualified employee

51.| Millard violated the Maine Act by failing to provide Thibodeau with reasonable
accommodationl l

52, Millard acted intentionally, with malice, and with reckless indifference for Ronald
Thibodeau’s rights under the l\/laine Act.

COUNT II - THE ADA
FAILURE TO ACCGMMODATE

5 3. Plaintiff Ronald Thihodeau realleges and hereby incorporates by reference all of
the foregoing paragraphs as if set forth in their entirety herein

54, lt is unlawful discrimination under the ADA for an employer not to make
reasonable accommodation to the known mental and physical limitations of an otherwise

qualified employee

 

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55. l\/lillard violated the l\/laine Ac-t by failing to provide Thibodean with reasonable
accommodation

56. Millard acted intentionally, with malice, and with reckless indifference for Ronald
Thibodeau’s rights under the ADA.

CooNr in ~ inn MAINE Ac'r`
' rnnMrNA'rioN

57. Plaintiff Ronald Thibodeau realleges and hereby incorporates by reference all of
the foregoing paragraphs as if set forth in their entirety herein

58. lvliilard violated the l\/laine Act by terminating Thibodeau because of his disability
and need for reasonable accommodation..

59. l\/lillard violated the l\/laine Act by discriminating against Thibodeau based on his
disability with respect to terms, conditions and privileges of employment and any other matter
directly or indirectly related to employment

'60. Millard acted intentionally, with malice, and with reckless indifference for
rl`hibodeau’s rights under the Maine Act.

COUNT IV v THE ADA
'l.`ERMINA'l`ION

6 l. Plaintiff Ronald Thibodeau realleges and hereby incorporates by reference all of
the foregoing paragraphs as if set forth in their entirety hereinl
62. l\/Iillard Violated the ADA by terminating Thibodeau because of his disability and

need for reasonable accommodation

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63. Millard violated the ADA by discriminating against 'l`hibodeau based on his
disability with respect to terms, conditions and privileges of employment and any other matter
directly or indirectly related to employment

64. 4 Millard acted intentionally, with malice, and with reckless indifference for
'l`hibodeau’s rights under the l\/laine Act.

COUNT v _ ran MAINE Acr
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65. Plaintiff Ronald Thibodeau realleges and hereby incorporates by reference all of
the foregoing paragraphs as if set forth in their entirety herein

66. ' l\/l_illard violated the l\/l`aine Act by subjecting ”l`hibodeau to disability~based
harassment and a hostile work environment under the Maine Act.

67. Millard violated the l\/laine Act by subjecting Thibodeau to unwelcome
harassment, the harassment was because of his disability, and the harassment was so frequent
and severe that it affected the terms, conditions, and privileges of his-employment and created a
hostile or offensive work environment

68. Millard violated the l\/laine Act by discriminating against Thib'odeau based on his
disability with respect to hire, tenure, promotion, transfer, compensation terms, conditions and
privileges of employment and any other matter directly or indirectly related to employment

69. Millard acted intentionally, with malicc, and with reckless indifference for
"i`hibodeau’s rights under the l\/laine Act.

COUNT Vl ~ TI:IE ADA
HARASSMENT/I~IOSTILE WCRK ENVIRONMENYI`

70. Plaintiffrealleges and hereby incorporates by reference all of the foregoing
paragraphs as if set forth in their entirety herein

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7l. l\/Iillard violated the ADA by subjecting Thibodeau to disability-based harassment
and a hostile work envirornnent under the ADA.

72. Millard violated the ADA by subjecting Thibodeau to unwelcome harassment the
harassment was because of his disability and the harassment was so frequent and severe that it
affected the terms, conditionsJ and privileges of his employment and created a hostile or
offensive work environment

73. Millard violated the ADA by discriminating against Thibodeau based on his
disability with respect to hire, tenure, prornotion, transfer, compensation terms, conditions and
privileges of employment and any other matter directly or indirectly related to employment

74. Millard acted intentionally with nialice, and with reckless indifference for
Thibodeau’s rights under the Maine Act.

COUNT XIII - TI~IE MAINE AC'I`
RETALIATION

75. Plaintiff realleges and hereby incorporates by reference all of the foregoing
paragraphs as if set forth in their entirety herein

76, Pursuant to the l\/laine Human Rights Act, it is unlawful for a person to eoerce,
intimidate threaten or interfere with any individual in the exercise or enjoyment of the rights
granted or protected by this Act or because that individual has exercised or enjoyed those rights

77. Millat'd violated the l\/laine Ac-t by harassing and retaliating against Thibodeau.

78. Millard violated the ADA by discriminating against Thibodeau based on his
disability Witli respect to hire, tenure, proinotion, transfer, compensation terms, conditions and

privileges of employment and any other matter directly or indirectly related to employment

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79. l\/Iillard acted intentionally, with malice, and with reckless indifference for
"l"hibodeau’ rights under the l\/iaine Act.

COUN'I` IX - THE ADA
RETALlATIGN '

80. Plaintit`t`Ronald Thibodeau realleges and hereby incorporates by reference all of
the foregoing paragraphs as if set forth in their entirety hei‘ein.

Sl, Pursuant to the ADA, it is unlawful for a person to coerce, intimidate, threaten or
interfere vvith any individual in the exercise or enjoyment of the rights granted or protected by
the ADA or because that individual has exercised or enjoyed those rights.

82. Millard violated the ADA by harassing and retaliating against Thibodeaii.

83. - l\/lillard violated the ADA by discriminating against Tlii`oodeau based on his
disability with respect to hire, tenure, proniotion, transfer, compensation terms, conditions and
privileges of employment and any other matter directly or indirectly related to employment

84. Millai'd acted intentionally, vvith malice, and With reckless indifference for
Tliibodeau` rights under the Maine Act.

VI. PRAYER FOR RELIEF

WHEREFORE, R.onald 'I`hibodeau respectfully prays that this Court;

a. Grant a permanent injunction enjoining i\/lillard, its owners, ofi‘i cers, management
pei'sonnel, employees agents, successors, and assigns and all persons in active concert or
participation Witli tlietn, from engaging in any employment practice that discriminates on the

basis of disability;

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b. Orde_r l\/lillard to institute and carry out polici.es, practices: trainings and programs
that provide equal employment opportunities to qualified individuals with disabilities; and that

eradicate the effects of past and present unlawful employment practices;

 

c. Order l\/Iillard to make whole Thibodeau by providing him with appropriate lost i
earnings and beiier`its, with prejudgment interest, in amounts to be proved at trial._ and other
affirmative relief necessary to eradicate the effects of its unlawful employment practices
including but not limited to reinstatement and reasonable accommodations

d. Order l\/lillard to make whole "l`h_ibodeau by providing compensation for ’
pecuniary losses: including but not limited to costs to he incurred for health and life insurance
premiums and costs of seeking new employment, in amounts to be determined at trial;

e. l Order Millard to make whole Thibodeau by providing compensation for
nonpecuniary losses, including emotional pain, suffering inconvenience, physical medical

problems and mental anguish in amounts to be proved at trial;

f. Order Millard to pay nominal damages

g. Order Millard to pay T.hibodeau punitive damages in an amount to be determined
at trial.

i. Order l\/iillard to pay attorneys` fees and costs of this action

l<. Grant such further relief as the Court deems necessary and properl

.lURY 'I`RIAL REQ UES TED

Kristin L. /~\.iello, i\/laine Bar l\lo. 807l.
Attorney for Ronald Thibodeati

Ronald Tliihodeau requests a jury trial.

    

Dated: 7/{ //é

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Dated: //7/ [//<,J

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